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 8

 9
                                     UNITED STATES DISTRICT COURT
10
                                    NORTHERN DISTRICT OF CALIFORNIA
11
                                           OAKLAND DIVISION
12

13   LUCIA GRECO,                                      Case No. 4:20-cv-02698-YGR
14                     Plaintiff,                      DECLARATION OF CATHERINE
                                                       CABALO IN SUPPORT OF PLAINTIFF'S
15          v.                                         OPPOSITION TO DEFENDANTS’
                                                       MOTION TO COMPEL ARBITRATION
16   UBER TECHNOLOGIES, INC.; RASIER,
     LLC; and RASIER-CA, LLC,                          Date:        September 8, 2020
17                                                     Time:        2:00 p.m.
                       Defendants.                     Judge:       Hon. Yvonne Gonzalez Rogers
18                                                     Location:    1301 Clay Street, Ctrm. 1, 4th Fl.
19                                                     Complaint Filed: April 19, 2020
20   I, Catherine Cabalo, hereby declare as follows:
21
        1. I am a member in good standing of the Bar of the State of California and am Of Counsel at
22
            the law firm of Peiffer Wolf Carr Kane & Conway (“Peiffer Wolf”). I represent Plaintiff
23
            Lucia Greco in this action. I submit this Declaration in support of Plaintiff’s Opposition to
24

25          Defendants’ Motion to Compel Arbitration. I have personal knowledge of the facts set forth

26          in this Declaration and could and would testify competently to them.

27

28
     DECLARATION OF CATHERINE CABALO
     ISO PLAINTIFF’S OPPOSITION TO                     1                       Case No. 4:20-CV-02698-YGR
     DEFENDANTS’ MOTION TO COMPEL
     ARBITRATION
         Case 4:20-cv-02698-YGR Document 30-1 Filed 08/14/20 Page 2 of 50



 1      2. On March 27, 2020, my office filed a Demand for Arbitration with the American Arbitration
 2          Association (“AAA”) on Ms. Greco’s behalf for damages against Defendants Uber
 3          Technologies, Inc. (“Uber”); Rasier, LLC; and Rasier-CA, LLC, in compliance with the
 4          directives of an arbitration provision contained in various versions of Uber’s “Terms and

 5          Conditions.”

 6      3. Attached to this Declaration as Exhibit A is a true and correct copy of the AAA’s Consumer

 7          Arbitration Rules, as found online at:

 8          https://adr.org/sites/default/files/Consumer%20Rules.pdf.

 9      4. Attached to this Declaration as Exhibit B is a true and correct copy of a letter dated April 18,

10          2020 from the AAA’s Consumer Filing Team to me and to Rosemary Barajas from Uber.

11          I declare under penalty of perjury under the laws of the United States and the State of

12   California that the foregoing is true and correct.

13          Executed on August 14, 2020 in San Francisco, California.
14
15
                                                              /s/ Catherine Cabalo
16                                                            Catherine Cabalo
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28
     DECLARATION OF CATHERINE CABALO
     ISO PLAINTIFF’S OPPOSITION TO                        2                      Case No. 4:20-CV-02698-YGR
     DEFENDANTS’ MOTION TO COMPEL
     ARBITRATION
Case 4:20-cv-02698-YGR Document 30-1 Filed 08/14/20 Page 3 of 50




            EXHIBIT A
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                 Consumer
                 Arbitration Rules




                 Available online at   adr.org/consumer
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         Consumer Arbitration
         Rules

    Introduction

    Millions of consumer purchases take place each year. Occasionally, these
    transactions lead to disagreements between consumers and businesses. These
    disputes can be resolved by arbitration. Arbitration is usually faster and cheaper
    than going to court.

    The American Arbitration Association® (“AAA®,” “the Association”) applies
    the Consumer Arbitration Rules (“Rules”) to arbitration clauses in agreements
    between individual consumers and businesses where the business has a
    standardized, systematic application of arbitration clauses with customers and
    where the terms and conditions of the purchase of standardized, consumable
    goods or services are non-negotiable or primarily non-negotiable in most or all
    of its terms, conditions, features, or choices. The product or service must be for
    personal or household use. The AAA has the discretion to apply or not to apply
    the Consumer Arbitration Rule, and the parties are able to bring any disputes
    concerning the application or non-application of the Rules to the attention of
    the arbitrator. Consumers and businesses are permitted to seek relief in a small
    claims court for disputes or claims within the scope of the small claims court’s
    jurisdiction. These Rules were drafted and designed to be consistent with the
    minimum due process principles of the Consumer Due Process Protocol.

    About the AAA

    The administrator’s role is to manage the administrative aspects of the arbitration,
    such as the appointment of the arbitrator, preliminary decisions about where
    hearings might take place, and handling the fees associated with the arbitration.
    As administrator, however, the AAA does not decide the merits of a case or make
    any rulings on issues such as what documents must be shared with each side.
    Because the AAA’s role is only administrative, the AAA cannot overrule or change
    an arbitrator’s decisions or rulings. The administrator will comply with any court
    orders issued from litigation involving the parties to the dispute.

6   ARBITRATION RULES                                                 American Arbitration Association
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   The American Arbitration Association, founded in 1926, is a neutral,
   independent, and private not-for-profit organization. We offer a broad range
   of conflict management services to businesses, organizations, and individuals.
   We also provide education, training, and publications focused on methods
   for settling disputes out of court.

   The Arbitrator

   Except where the parties to a case reach their own settlement, the arbitrator will
   make the final, binding decision called the Award on the dispute and render it in
   writing. The Arbitrator makes all the procedural decisions on a case not made by
   the Administrator or not decided jointly by the parties. The arbitrator may grant
   any remedy, relief, or outcome that the parties could have received in court,
   including awards of attorney’s fees and costs, in accordance with the law or laws
   that apply to the case.

   Arbitrators are neutral and independent decision makers who are not employees
   of the AAA. Once appointed to a case, an arbitrator may not be removed by one
   party without the other party’s consent or unless the Administrator determines an
   arbitrator should be removed and replaced by another arbitrator chosen by the
   Administrator in a manner described in these Rules.

   The AAA’s Consumer Arbitration Rules

   The AAA has developed the Consumer Arbitration Rules for consumers and
   businesses that want to have their disagreements resolved through arbitration.

   Availability of Mediation through Mediation.org

   Mediation in consumer disputes is also available to help parties resolve their
   disputes. Parties interested in participating in mediation may find a mediator
   through www.mediation.org.

   Administrative Fees

   The Association charges a fee for its services under these Rules. A fee schedule is
   included at the end of these Rules in the Costs of Arbitration section.




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     Arbitrator’s Fees

     Arbitrators are paid for the time they spend resolving disputes. The business
     makes deposits as outlined in the fee schedule in the Costs of Arbitration section
     of these Rules. Unused deposits are refunded at the end of the case.

     Notification

     A business intending to incorporate these Rules or to refer to the dispute
     resolution services of the AAA in a consumer alternative dispute resolution
     (“ADR”) plan should, at least 30 days prior to the planned effective date of
     the program,

     •   notify the Association of its intention to do so, and
     •   provide the Association with a copy of the consumer dispute resolution plan.


     If a business does not comply with this requirement, the Association reserves the
     right to withhold its administrative services. For more information, please see
     R-12 below.




 8   ARBITRATION RULES                                                      American Arbitration Association
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   Filing a Case and Initial AAA Administrative Steps

   R-1. Applicability (When the AAA Applies These Rules)

   (a) The parties shall have made these Consumer Arbitration Rules (“Rules”) a part of
       their arbitration agreement whenever they have provided for arbitration by the
       American Arbitration Association (“AAA”), and
          1)     have specified that these Consumer Arbitration Rules shall apply;
          2)     have specified that the Supplementary Procedures for Consumer-Related
                 Disputes shall apply, which have been amended and renamed the Consumer
                 Arbitration Rules;
          3)     the arbitration agreement is contained within a consumer agreement, as
                 defined below, that does not specify a particular set of rules; or
          4)     the arbitration agreement is contained within a consumer agreement, as
                 defined below, that specifies a particular set of rules other than the
                 Consumer Arbitration Rules.


   When parties have provided for the AAA’s rules or AAA administration as part
   of their consumer agreement, they shall be deemed to have agreed that the
   application of the AAA’s rules and AAA administration of the consumer
   arbitration shall be an essential term of their consumer agreement.

   The AAA defines a consumer agreement as an agreement between an individual
   consumer and a business where the business has a standardized, systematic
   application of arbitration clauses with customers and where the terms and
   conditions of the purchase of standardized, consumable goods or services are
   non-negotiable or primarily non-negotiable in most or all of its terms, conditions,
   features, or choices. The product or service must be for personal or household use.

   Examples of contracts that typically meet the criteria for application of these
   Rules, if the contract is for personal or household goods or services and has an
   arbitration provision, include, but are not limited to the following:

          •      Credit card agreements
          •      Telecommunications (cell phone, ISP, cable TV) agreements
          •      Leases (residential, automobile)
          •      Automobile and manufactured home purchase contracts
          •      Finance agreements (car loans, mortgages, bank accounts)
          •      Home inspection contracts
          •      Pest control services

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          •   Moving and storage contracts
          •   Warranties (home, automobile, product)
          •   Legal funding
          •   Health and fitness club membership agreements
          •   Travel services
          •   Insurance policies
          •   Private school enrollment agreements


     Examples of contracts that typically do not meet the criteria for application of
     these Rules, should the contract contain an arbitration provision, include, but
     are not limited to the following:

          •   Home construction and remodeling contracts
          •   Real estate purchase and sale agreements
          •   Condominium or homeowner association by-laws
          •   Business insurance policies (including crop insurance)
          •   Commercial loan and lease agreements
          •   Commercial guaranty agreements


     (b) When parties agree to arbitrate under these Rules, or when they provide for
         arbitration by the AAA and an arbitration is initiated under these Rules, they
         thereby authorize the AAA to administer the arbitration. The authority and duties
         of the AAA are prescribed in the agreement of the parties and in these Rules and
         may be carried out through such of the AAA’s representatives as it may direct.
         The AAA may, in its discretion, assign the administration of an arbitration to any of
         its offices. Arbitrations administered under these Rules shall only be administered
         by the AAA or by an individual or organization authorized by the AAA to do so.
     (c) The consumer and the business may agree to change these Rules. If they agree
         to change the Rules, they must agree in writing. If the consumer and the business
         want to change these Rules after the appointment of the arbitrator, any changes
         may be made only with the approval of the arbitrator.
     (d) The AAA administers consumer disputes that meet the due process standards
         contained in the Consumer Due Process Protocol and the Consumer Arbitration
         Rules. The AAA will accept cases after the AAA reviews the parties’ arbitration
         agreement and if the AAA determines the agreement substantially and materially
         complies with the due process standards of these Rules and the Consumer Due
         Process Protocol. Should the AAA decline to administer an arbitration, either party
         may choose to submit its dispute to the appropriate court for resolution.




10   ARBITRATION RULES                                                         American Arbitration Association
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   (e) The AAA has the initial authority to apply or not to apply the Consumer
       Arbitration Rules. If either the consumer or the business disagrees with the AAA’s
       decision, the objecting party must submit the objection by the due date for filing
       an answer to the demand for arbitration. If an objection is filed, the arbitrator
       shall have the authority to make the final decision on which AAA rules will apply.
   (f) If, within 30 days after the AAA’s commencement of administration, a party seeks
       judicial intervention with respect to a pending arbitration and provides the AAA
       with documentation that judicial intervention has been sought, the AAA will
       suspend administration for 30 days to permit the party to obtain a stay of
       arbitration from the court.
   (g) Where no disclosed claims or counterclaims exceed $25,000, the dispute shall
       be resolved by the submission of documents only/desk arbitration (see R-29 and
       the Procedures for the Resolution of Disputes through Document Submission
       below). Any party, however, may ask for a hearing. The arbitrator also may decide
       that a hearing is necessary.


   R-2. Starting Arbitration under an Arbitration Agreement in a Contract

   (a) Arbitration filed under an arbitration agreement naming the AAA shall be started
       in the following manner:
          (1) The party who starts the arbitration (referred to as the “claimant” throughout
              the arbitration) must contact, in writing, the party that the case is filed against
              (referred to as the “respondent” throughout the arbitration) that it wishes to
              arbitrate a dispute. This written contact is referred to as the Demand for
              Arbitration (“Demand”). The Demand must do the following:
                 •      Briefly explain the dispute
                 •      List the names and addresses of the consumer and the business, and,
                        if known, the names of any representatives of the consumer and the
                        business
                 •      Specify the amount of money in dispute, if applicable
                 •      Identify the requested location for the hearing if an in-person hearing is
                        requested
                 •      State what the claimant wants
          (2) The claimant must also send one copy of the Demand to the AAA at the same
              time the demand is sent to the respondent. When sending a Demand to the
              AAA, the claimant must also send the following:
                 •      A copy of the arbitration agreement contained in the contract and/or
                        agreement and/or purchase document
                 •      The proper filing fee; the amount of the filing fee can be found in the
                        Costs of Arbitration section at the end of these Rules.




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         (3) If the arbitration is pursuant to a court order, the claimant must send one
             copy of the Demand to the AAA at the same time the Demand is sent to the
             respondent. When sending a demand to the AAA, the claimant must also
             send the following:
              •    A copy of the court order
              •    A copy of the arbitration agreement contained in the contract and/or
                   agreement and/or purchase document
              •    The proper filing fee


     The filing fee must be paid before a matter is considered properly filed. If the
     court order directs that a specific party is responsible for the filing fee, it is the
     responsibility of the filing party either to make such payment to the AAA and
     seek reimbursement as directed in the court order or to make other such
     arrangements so that the filing fee is submitted to the AAA with the Demand.

     The claimant may file by mail. The mailing address of the AAA’s Case Filing
     Services is:

     American Arbitration Association
     Case Filing Services
     1101 Laurel Oak Road, Suite 100
     Voorhees, NJ 08043

     Or, the claimant may file online using AAA WebFile: https://www.adr.org

     Or, the claimant may file at any of the AAA’s offices.

     (b) The AAA will send a written notice letting the consumer and the business know
         the Demand for Arbitration has been received.
     (c) The respondent may submit a written response to the Demand, known as an
         “answer,” which describes how the respondent responds to the claimant’s claim.
         The answer must be sent to the AAA within 14 calendar days after the date the
         AAA notifies the parties that the Demand for Arbitration was received and all
         filing requirements were met. The answer must be
          •   in writing,
          •   sent to the AAA, and
          •   sent to the claimant at the same time.
     (d) The respondent may also file a counterclaim, which is the respondent filing a
         Demand against the claimant. If the respondent has a counterclaim, the
         counterclaim must briefly explain the dispute, specify the amount of money
         involved, and state what the respondent wants.

12   ARBITRATION RULES                                                       American Arbitration Association
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   (e) If no answer is filed within 14 calendar days, the AAA will assume that the
       respondent does not agree with the claim filed by the claimant. The case will
       move forward after 14 days regardless of whether an answer is filed.
   (f) When sending a Demand or an answer, the consumer and the business are
       encouraged to provide enough details to make the dispute clear to the arbitrator.


   R-3. Agreement to Arbitrate When There is No AAA Arbitration Clause

   If the consumer and business do not have an arbitration agreement or their
   arbitration agreement does not name the AAA, the parties may agree to have
   the AAA arbitrate their dispute. To start the arbitration, the parties must send
   the AAA a submission agreement, which is an agreement to arbitrate their case
   with the AAA, signed by the consumer and the business (email communications
   between all parties to a dispute reflecting an agreement to arbitrate also is
   acceptable). The submission agreement must

          •      be in writing (electronic communication is acceptable);
          •      be signed by both parties;
          •      briefly explain the dispute;
          •      list the names and addresses of the consumer and the business;
          •      specify the amount of money involved;
          •      specify the requested location for the hearing if an in-person hearing is
                  requested; and
          •      state the solution sought.


   The parties should send one copy of the submission agreement to the AAA.
   They must also send the proper filing fees. A fee schedule can be found in the
   Costs of Arbitration section at the end of these Rules.

   R-4. AAA Administrative Fees

   As a not-for-profit organization, the AAA charges fees to compensate it for the
   cost of providing administrative services. The fee schedule in effect when the
   case is filed shall apply for all fees charged during the administration of the case.
   The AAA may, in the event of the consumer’s extreme hardship, defer or reduce
   the consumer’s administrative fees.

   AAA fees shall be paid in accordance with the Costs of Arbitration section found
   at the end of these Rules.


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     R-5. Neutral Arbitrator’s Compensation

     (a) Arbitrators serving under these Rules shall be compensated at a rate established
         by the AAA.
     (b) Any arrangement for the compensation of an arbitrator shall be made through
         the AAA and not directly between the parties and the arbitrator.
     (c) Arbitrator compensation shall be paid in accordance with the Costs of Arbitration
         section found at the end of these Rules.


     R-6. Depositing Neutral Arbitrator’s Compensation with the AAA

     The AAA may require the parties to deposit in advance of any hearings such
     sums of money as it decides are necessary to cover the expense of the
     arbitration, including the arbitrator’s fee, and shall render an accounting to
     the parties and return any unused money at the conclusion of the case.

     R-7. Expenses

     Unless otherwise agreed by the parties or as provided under applicable law,
     the expenses of witnesses for either side shall be borne by the party producing
     such witnesses.

     All expenses of the arbitrator, including required travel and other expenses,
     and any AAA expenses, as well as the costs relating to proof and witnesses
     produced at the direction of the arbitrator, shall be borne in accordance with
     the Costs of Arbitration section found at the end of these Rules.

     R-8. Changes of Claim

     Once a Demand has been filed, any new claims or counterclaims, or changes
     to the claim or counterclaim, must be made in writing and sent to the AAA. The
     party making the new or different claim or counterclaim shall send a copy to the
     opposing party. As with the original Demand or counterclaim, a party shall have
     14 calendar days from the date the AAA notifies the parties it received the new
     or different claim or counterclaim to file an answering statement with the AAA.

     If an arbitrator has already been appointed, a new or different claim or counter-
     claim may only be considered if the arbitrator allows it.




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   R-9. Small Claims Option for the Parties

   If a party’s claim is within the jurisdiction of a small claims court, either party may
   choose to take the claim to that court instead of arbitration as follows:

   (a) The parties may take their claims to small claims court without first filing with
       the AAA.
   (b) After a case is filed with the AAA, but before the arbitrator is formally appointed
       to the case by the AAA, a party can send a written notice to the opposing party
       and the AAA that it wants the case decided by a small claims court. After receiving
       this notice, the AAA will administratively close the case.
   (c) After the arbitrator is appointed, if a party wants to take the case to small claims
       court and notifies the opposing party and the AAA, it is up to the arbitrator to
       determine if the case should be decided in arbitration or if the arbitration case
       should be closed and the dispute decided in small claims court.


   R-10. Administrative Conference with the AAA

   At the request of any party or if the AAA should so decide, the AAA may have
   a telephone conference with the parties and/or their representatives. The
   conference may address issues such as arbitrator selection, the possibility of a
   mediated settlement, exchange of information before the hearing, timing of the
   hearing, the type of hearing that will be held, and other administrative matters.

   R-11. Fixing of Locale (the city, county, state, territory and/or country where the
   arbitration will take place)

   If an in-person hearing is to be held and if the parties do not agree to the
   locale where the hearing is to be held, the AAA initially will determine the locale
   of the arbitration. If a party does not agree with the AAA’s decision, that party
   can ask the arbitrator, once appointed, to make a final determination. The locale
   determination will be made after considering the positions of the parties, the
   circumstances of the parties and the dispute, and the Consumer Due Process
   Protocol.




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     R-12. Business Notification and Publicly-Accessible Consumer Clause Registry

     Beginning September 1, 2014, a business that provides for or intends to provide
     for these Rules or another set of AAA Rules in a consumer contract (as defined in
     R-1) should

         1.   notify the AAA of the existence of such a consumer contract or of its intention
              to do so at least 30 days before the planned effective date of the contract.
         2.   provide the AAA a copy of the arbitration agreement.


     Upon receiving the arbitration agreement, the AAA will review the agreement for
     material compliance with due process standards contained in the Consumer Due
     Process Protocol and the Consumer Arbitration Rules (see Rule 1(d)). There is a
     nonrefundable fee to conduct this initial review and maintain a publicly-available
     clause registry, which is detailed in the Costs of Arbitration section found at
     the end of these Rules. Any subsequent changes, additions, deletions, or
     amendments to a currently-registered arbitration agreement must be resubmitted
     for review and a review fee will be assessed at that time. The AAA will decline
     to administer consumer arbitrations arising out of that arbitration agreement
     where the business fails to pay the review fee.

     If a business does not submit its arbitration agreement for review and a consumer
     arbitration then is filed with the AAA, the AAA will conduct an expedited review
     at that time. Along with any other filing fees that are owed for that case, the
     business also will be responsible for paying the nonrefundable review and
     Registry fee (including any fee for expedited review at the time of filing) for this
     initial review, which is detailed in the Costs of Arbitration section found at the
     end of these Rules. The AAA will decline to administer consumer arbitrations
     arising out of that arbitration agreement if the business declines to pay the
     review and Registry fee.

     After the AAA reviews the submitted consumer clause, receives the annual
     consumer registry fee, and determines it will administer consumer-related
     disputes filed pursuant to the consumer clause, the business will be included
     on the publicly-accessible Consumer Clause Registry. This Consumer Clause
     Registry maintained by the AAA will contain the name of the business, the
     address, and the consumer arbitration clause, along with any related documents
     as deemed necessary by the AAA. The AAA’s review of a consumer arbitration
     clause and determination whether or not to administer arbitrations pursuant to



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   that clause is only an administrative determination by the AAA and cannot be
   relied upon or construed as a legal opinion or advice regarding the enforceability
   of the arbitration clause. Consumer arbitration agreements may be registered at:
   www.adr.org/consumerclauseregistry or via email at consumerreview@adr.org.

   For more information concerning the Consumer Clause Registry, please visit the
   AAA’s website at www.adr.org/consumerclauseregistry.

   The Registry fee to initially review a business’s agreement and maintain the
   clause registry list is a yearly, non-refundable fee for the business’s arbitration
   agreement. Any different arbitration agreements submitted by the same business
   or its subsidiaries must be submitted for review and are subject to the current
   review fee.

   If the AAA declines to administer a case due to the business’s non-compliance
   with this notification requirement, the parties may choose to submit their dispute
   to the appropriate court.

   R-13. AAA and Delegation of Duties

   When the consumer and the business agree to arbitrate under these Rules or
   other AAA rules, or when they provide for arbitration by the AAA and an
   arbitration is filed under these Rules, the parties also agree that the AAA will
   administer the arbitration. The AAA’s administrative duties are set forth in the
   parties’ arbitration agreement and in these Rules. The AAA will have the final
   decision on which office and which AAA staff members will administer the case.
   Arbitrations administered under these Rules shall only be administered by the
   AAA or by an individual or organization authorized by the AAA to do so.

   R-14. Jurisdiction

   (a) The arbitrator shall have the power to rule on his or her own jurisdiction,
       including any objections with respect to the existence, scope, or validity of the
       arbitration agreement or to the arbitrability of any claim or counterclaim.
   (b) The arbitrator shall have the power to determine the existence or validity of a
       contract of which an arbitration clause forms a part. Such an arbitration clause
       shall be treated as an agreement independent of the other terms of the contract.
       A decision by the arbitrator that the contract is null and void shall not for that
       reason alone render invalid the arbitration clause.
   (c) A party must object to the jurisdiction of the arbitrator or to the arbitrability of a
       claim or counterclaim no later than the filing of the answering statement to the
       claim or counterclaim that gives rise to the objection. The arbitrator may rule on
       such objections as a preliminary matter or as part of the final award.
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     Appointing the Arbitrator

     R-15. National Roster of Arbitrators

     The AAA maintains a National Roster of Arbitrators (“National Roster”) and shall
     appoint arbitrators from this National Roster to resolve the parties’ dispute(s).

     R-16. Appointment from National Roster

     (a) If the parties have not appointed an arbitrator and have not agreed to a process
         for appointing the arbitrator, immediately after the filing of the submission
         agreement or the answer, or after the deadline for filing the answer, the AAA will
         administratively appoint an arbitrator from the National Roster.
     (b) If the parties’ arbitration agreement provides for three or more arbitrators
         and they have not appointed the arbitrators and have not agreed to a process
         for appointing the arbitrators, immediately after the filing of the submission
         agreement or the answer, or after the deadline for filing the answer, the AAA will
         administratively appoint the arbitrators from the National Roster. The AAA will
         appoint the chairperson.
     (c) Arbitrator(s) serving under these Rules will be neutral and must meet the
         standards of R-19 with respect to being impartial and independent.


     R-17. Number of Arbitrators

     If the arbitration agreement does not specify the number of arbitrators and the
     parties do not agree on the number, the dispute shall be heard and decided by
     one arbitrator.

     R-18. Disclosure

     (a) Any person appointed or to be appointed as an arbitrator, as well as the parties
         and their representatives, must provide information to the AAA of any
         circumstances likely to raise justifiable doubt as to whether the arbitrator can
         remain impartial or independent. This disclosure of information would include
         (1) any bias;
         (2) any financial interest in the result of the arbitration;
         (3) any personal interest in the result of the arbitration; or
         (4) any past or present relationship with the parties or their representatives.


     Such obligation to provide disclosure information remains in effect throughout the
     arbitration. A failure on the part of a party or a representative to comply with the


18   ARBITRATION RULES                                                         American Arbitration Association
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   requirements of this rule may result in the waiver of the right to object to an arbitrator in
   accordance with Rule R-50.

   (b) If the AAA receives such information from the arbitrator or another source, the
       AAA will communicate the information to the parties. If the AAA decides it is
       appropriate, it will also communicate the information to the arbitrator and others.
   (c) In order to encourage disclosure by arbitrators, disclosing such information does
       not mean that the arbitrator considers the disclosed information will likely affect
       his or her ability to be impartial or independent.


   R-19. Disqualification of Arbitrator

   (a) Any arbitrator shall be impartial and independent and shall perform his or her
       duties carefully and in good faith. The AAA may disqualify an arbitrator who shows
          (1) partiality or lack of independence;
          (2) inability or refusal to perform his or her duties with diligence and in good
              faith; or
          (3) any grounds for disqualification provided by applicable law.
   (b) If a party objects to the continued service of an arbitrator, or if the AAA should so
       decide to raise the issue of whether the arbitrator should continue on the case,
       the AAA will decide if the arbitrator should be disqualified. After gathering the
       opinions of the parties, the AAA will decide and that decision shall be final and
       conclusive.


   R-20. Vacancies

   If for any reason an arbitrator cannot or is unwilling to perform the duties of the
   office, the AAA may declare the office vacant. Any vacancies shall be filled based
   on the original procedures used to appoint the arbitrator. If a substitute arbitrator
   is appointed, the substitute arbitrator will decide if it is necessary to repeat all or
   part of any prior ruling or hearing.




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     Pre-Hearing Preparation

     R-21. Preliminary Management Hearing with the Arbitrator

     (a) If any party asks for, or if the AAA or the arbitrator decides to hold one, the
         arbitrator will schedule a preliminary management hearing with the parties
         and/or their representatives as soon as possible. The preliminary management
         hearing will be conducted by telephone unless the arbitrator decides an
         in-person preliminary management hearing is necessary.
     (b) During the preliminary management hearing, the parties and the arbitrator should
         discuss the future conduct of the case, including clarification of issues and claims,
         scheduling of the hearings, and any other preliminary matters.
     (c) The arbitrator shall promptly issue written orders that state the arbitrator’s
         decisions made during or as a result of the preliminary management hearing. The
         arbitrator may also conduct additional preliminary management hearings if the
         need arises.


     R-22. Exchange of Information between the Parties

     (a) If any party asks or if the arbitrator decides on his or her own, keeping in mind that
         arbitration must remain a fast and economical process, the arbitrator may direct
         1)   specific documents and other information to be shared between the
              consumer and business, and
         2)   that the consumer and business identify the witnesses, if any, they plan to
              have testify at the hearing.
     (b) Any exhibits the parties plan to submit at the hearing need to be shared between
         the parties at least five business days before the hearing, unless the arbitrator sets
         a different exchange date.
     (c) No other exchange of information beyond what is provided for in section (a)
         above is contemplated under these Rules, unless an arbitrator determines further
         information exchange is needed to provide for a fundamentally fair process.
     (d) The arbitrator has authority to resolve any disputes between the parties about
         exchanging information.


     R-23. Enforcement Powers of the Arbitrator

     The arbitrator may issue any orders necessary to enforce the provisions of
     rules R-21 and R-22 and to otherwise achieve a fair, efficient, and economical
     resolution of the case, including, but not limited to:

     (a) an order setting the conditions for any exchange or production of confidential
         documents and information, and the admission of confidential evidence at the
         hearing in order to preserve such confidentiality;
20   ARBITRATION RULES                                                          American Arbitration Association
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   (b) to the extent the exchange of information takes place pursuant to R-22, imposing
       reasonable search limitations for electronic and other documents if the parties are
       unable to agree;
   (c) allocating costs of producing documentation, including electronically-stored
       documentation;
   (d) in the case of willful non-compliance with any order issued by the arbitrator,
       drawing adverse inferences, excluding evidence and other submissions,
       and/or making special allocations of costs or an interim award of costs arising
       from such non-compliance; and
   (e) issuing any other enforcement orders that the arbitrator is empowered to issue
       under applicable law.


   R-24. Written Motions (except for Dispositive Motions—see R-33)

   The arbitrator may consider a party’s request to file a written motion (except for
   Dispositive Motions— see R-33) only after the parties and the arbitrator conduct
   a conference call to attempt to resolve the issue that gives rise to the proposed
   motion. Only after the parties and the arbitrator hold the call may the arbitrator
   consider a party’s request to file a written motion. The arbitrator has the sole
   discretion to allow or deny the filing of a written motion and his or her decision
   is final.

   R-25. Representation of a Party

   Any party may participate in the arbitration without representation, or may be
   represented by counsel or other authorized representative, unless such choice
   is prohibited by applicable law. A party intending to be represented shall give
   the opposing party and the AAA the name, address, and contact information
   of the representative at least three business days before the hearing where that
   representative will first appear in the case. It will be considered proper notice if
   a representative files the arbitration demand or answer or responds for a party
   during the course of the arbitration.

   While parties do not need an attorney to participate in arbitration, arbitration is
   a final, legally-binding process that may impact a party’s rights. As such, parties
   may want to consider consulting an attorney.




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     R-26. Setting the Date, Time, and Place (the physical site of the hearing within
     the designated locale) of Hearing

     The arbitrator will set the date, time, and place for each hearing within the locale
     as determined in R-11. A hearing may be by telephone or in person. For their
     part, the parties commit to

         (1) respond promptly to the arbitrator when he or she asks what dates the parties
             are available to have the hearings;
         (2) cooperate in the scheduling of the hearing on the earliest possible date; and
         (3) follow the hearing schedule set up by the arbitrator.


     The AAA will send a notice of the hearing to the parties at least 10 days before
     the hearing date, unless the parties agree to a different time frame.

     R-27. Written Record of Hearing

     (a) If a party wants a written record of the hearing, that party must make such
         arrangement directly with a stenographer (court reporter) and notify the opposing
         parties, the AAA, and the arbitrator of these arrangements at least three business
         days before the hearing. The party or parties who request the written record shall
         pay the cost of the service.
     (b) No other type of recording will be allowed unless the parties agree or the
         arbitrator directs a different form of recording.
     (c) The arbitrator may resolve disputes between the parties over who will pay the
         costs of the written record or other type of recording.
     (d) The parties can agree or the arbitrator may decide that the transcript (written
         record) is the official record of the hearing. If it is the official record of the hearing,
         the transcript must be given to the arbitrator and made available to all the parties
         so that it can be reviewed. The date, time, and place of the inspection will be
         decided by the arbitrator.


     R-28. Interpreters

     If a party wants an interpreter present for any part of the process, that party must
     make arrangements directly with the interpreter and shall pay for the costs of the
     service.




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   R-29. Documents-Only Procedure

   Disputes may be resolved by submission of documents and without in-person or
   telephonic hearings. For cases being decided by the submission of documents
   only, the Procedures for the Resolution of Disputes through Document
   Submission (found at the end of these Rules) shall supplement these Rules. These
   Procedures will apply where no disclosed claims or counterclaims exceed $25,000
   (see R-1(g)), unless any party requests an in-person or telephonic hearing or the
   arbitrator decides that a hearing is necessary.




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     Hearing Procedures

     R-30. Attendance at Hearings

     The arbitrator and the AAA will keep information about the arbitration private
     except to the extent that a law provides that such information shall be shared or
     made public. The parties and their representatives in the arbitration are entitled
     to attend the hearings. The arbitrator will determine any disputes over whether
     a non-party may attend the hearing.

     R-31. Oaths

     Before starting the hearing, each arbitrator may take an oath of office and, if
     required by law, shall do so. If the arbitrator determines that witnesses shall testify
     under oath, then the arbitrator will direct the oath be given by a duly-qualified
     person.

     R-32. Conduct of Proceedings

     (a) The claimant must present evidence to support its claim. The respondent must
         then present evidence to support its defense. Witnesses for each party also must
         answer questions from the arbitrator and the opposing party. The arbitrator may
         change this procedure, as long as each party has the right to be heard and is
         given a fair opportunity to present its case.
     (b) When the arbitrator decides it is appropriate, the arbitrator may also allow the
         parties to present evidence in alternative ways, including web conferencing,
         Internet communication, and telephonic conferences. All procedures must provide
         the parties with a full and equal opportunity to present any evidence that the
         arbitrator decides is material and relevant to deciding the dispute. If the alternative
         ways to present evidence involve witnesses, those ways may include that the
         witness submit to direct and cross-examination questioning.
     (c) The arbitrator will use his or her discretion to resolve the dispute as quickly as
         possible and may direct the parties to present the evidence in a certain order,
         or may split the proceedings into multiple parts and direct the parties in the
         presentation of evidence.
     (d) The hearing generally will not exceed one day. However, if a party shows good
         cause, the arbitrator may schedule additional hearings within seven calendar days
         after the initial day of hearing.
     (e) The parties may agree in writing to waive oral hearings.




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   R-33. Dispositive Motions

   The arbitrator may allow the filing of a dispositive motion if the arbitrator
   determines that the moving party has shown substantial cause that the motion
   is likely to succeed and dispose of or narrow the issues in the case.

   R-34. Evidence

   (a) The parties may offer relevant and material evidence and must produce any
       evidence the arbitrator decides is necessary to understand and decide the
       dispute. Following the legal rules of evidence shall not be necessary. All evidence
       should be taken in the presence of the arbitrator and all of the parties, unless any
       of the parties is absent, in default, or has waived the right to be present.
   (b) The arbitrator shall determine what evidence will be admitted, what evidence is
       relevant, and what evidence is material to the case. The arbitrator may also
       exclude evidence that the arbitrator decides is cumulative or not relevant.
   (c) The arbitrator shall consider applicable principles of legal privilege, such as those
       that involve the confidentiality of communications between a lawyer and a client.
   (d) An arbitrator or other person authorized by law to subpoena witnesses or
       documents may do so on the request of any party or on the arbitrator’s own
       determination. If a party requests the arbitrator sign a subpoena, that party shall
       copy the request to the other parties in the arbitration at the same time it is
       provided to the arbitrator.


   R-35. Evidence by Affidavit and Post-Hearing Filing of Documents or Other
   Evidence

   (a) The arbitrator may receive and consider the evidence of witnesses by
       declaration or affidavit rather than in-person testimony but will give this evidence
       only such credence as the arbitrator decides is appropriate. The arbitrator will
       consider any objection to such evidence made by the opposing party.
   (b) If the parties agree or the arbitrator decides that documents or other evidence
       need to be submitted to the arbitrator after the hearing, those documents or
       other evidence will be filed with the AAA so that they can be sent to the arbitrator.
       All parties will be given the opportunity to review and respond to these documents
       or other evidence.


   R-36. Inspection or Investigation

   An arbitrator finding it necessary to inspect property or conduct an investigation
   in connection with the arbitration will request that the AAA inform the parties.
   The arbitrator will set the date and time of the inspection and investigation, and


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     the AAA will notify the parties. Any party who would like to be present at the
     inspection or investigation may attend. If one or all parties are not present at the
     inspection or investigation, the arbitrator will make an oral or written report to
     the parties and allow them an opportunity to comment.

     R-37. Interim Measures (a preliminary decision made by the arbitrator involving
     part or all of the issue(s) in dispute in the arbitration)

     (a) The arbitrator may grant whatever interim measures he or she decides are
         necessary, including granting an injunction and ordering that property be
         protected.
     (b) Such interim measures may take the form of an interim award, and the arbitrator
         may require a security payment for the costs of such measures.
     (c) When making a decision on an interim measure, the arbitrator may grant any
         remedy, relief, or outcome that the parties could have received in court.
     (d) A party to an arbitration agreement under these Rules may instead file in state
         or federal court for interim relief. Applying to the court for this type of relief,
         including temporary restraining orders, is consistent with the agreement to
         arbitrate and will not be considered a waiver of the right to arbitrate.


     R-38. Postponements

     The arbitrator may postpone any hearing

     (a) if requested by a party, and the party shows good cause for the postponement;
     (b) if all parties agree to a postponement;
     (c) on his or her own decision.


     R-39. Arbitration in the Absence of a Party or Representative

     The arbitration may proceed even if any party or representative is absent, so
     long as proper notice was given and that party or representative fails to appear
     or obtain a postponement from the arbitrator. An award cannot be made only
     because of the default of a party. The arbitrator shall require the party who
     participates in the hearing to submit the evidence needed by the arbitrator to
     make an award.




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   Conclusion of the Hearing

   R-40. Closing of Hearing

   The arbitrator must specifically ask all parties whether they have any further
   proofs to offer or witnesses to be heard. When the arbitrator receives negative
   replies or he or she is satisfied that the record is complete, the arbitrator will
   declare the hearing closed.

   If briefs or other written documentation are to be filed by the parties, the hearing
   shall be declared closed as of the final date set by the arbitrator. Absent
   agreement of the parties, the time that the arbitrator has to make the award
   begins upon the closing of the hearing. The AAA may extend the time limit for
   the rendering of the award only in unusual and extreme circumstances.

   R-41. Reopening of Hearing

   If a party requests, or if the arbitrator decides to do so, the hearing may be
   reopened at any time before the award is made. If reopening the hearing would
   prevent the making of the award within the specific time agreed on by the parties
   in the contract(s) out of which the controversy has arisen, the matter may not
   be reopened unless the parties agree on an extension of time. If the arbitrator
   reopens the hearing, he or she shall have 30 days from the closing of the
   reopened hearing within which to make an award.

   R-42. Time of Award

   The award shall be issued promptly by the arbitrator and, unless the parties agree
   differently or the law indicates a different time frame, no later than 30 calendar
   days from the date the hearing is closed, or, if the case is a documents-only
   procedure, 14 calendar days from the date the arbitrator set for his or her receipt
   of the final statements and proofs. The AAA may extend the time limit for the
   rendering of the award only in unusual and extreme circumstances.

   R-43. Form of Award

   (a) Any award shall be in writing and executed in the form and manner required
       by law.
   (b) The award shall provide the concise written reasons for the decision unless the
       parties all agree otherwise. Any disagreements over the form of the award shall be
       decided by the arbitrator.


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     (c) The AAA may choose to publish an award rendered under these Rules; however,
         the names of the parties and witnesses will be removed from awards that are
         published, unless a party agrees in writing to have its name included in the award.


     R-44. Scope of Award

     (a) The arbitrator may grant any remedy, relief, or outcome that the parties could
         have received in court, including awards of attorney’s fees and costs, in
         accordance with the law(s) that applies to the case.
     (b) In addition to a final award, the arbitrator may make other decisions, including
         interim, interlocutory, or partial rulings, orders, and awards. In any interim,
         interlocutory, or partial award, the arbitrator may assess and divide up the fees,
         expenses, and compensation related to such award as the arbitrator decides is
         appropriate, subject to the provisions and limitations contained in the Costs of
         Arbitration section.
     (c) The arbitrator may also allocate compensation, expenses as defined in sections (v)
         and (vii) of the Costs of Arbitration section, and administrative fees (which include
         Filing and Hearing Fees) to any party upon the arbitrator’s determination that the
         party’s claim or counterclaim was filed for purposes of harassment or is patently
         frivolous.
     (d) In the final award, the arbitrator shall assess the fees, expenses, and compensation
         provided in Sections R-4, R-5, and R-7 in favor of any party, subject to the provisions
         and limitations contained in the Costs of Arbitration section.


     R-45. Award upon Settlement

     If the parties settle their dispute at any point during the arbitration and at the
     parties’ request, the arbitrator may lay out the terms of the settlement in a
     “consent award” (an award drafted and signed by the arbitrator that reflects the
     settlement terms of the parties). A consent award must include a division of the
     arbitration costs, including administrative fees and expenses as well as arbitrator
     fees and expenses. Consent awards will not be made available to the public per
     Rule 43(c) unless the parties agree otherwise.

     R-46. Delivery of Award to Parties

     Parties shall accept as notice and delivery of the award the placing of the award
     or a true copy thereof in the mail addressed to the parties or their representatives
     at the last known addresses, personal or electronic service of the award, or the
     filing of the award in any other manner that is permitted by law.




28   ARBITRATION RULES                                                          American Arbitration Association
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   R-47. Modification of Award for Clerical, Typographical, or Mathematical Errors

   (a) Within 20 days after the award is transmitted, any party, upon notice to the
       opposing parties, may contact the AAA and request that the arbitrator correct
       any clerical, typographical, or mathematical errors in the award. The arbitrator
       has no power to re-determine the merits of any claim already decided.
   (b) The opposing parties shall be given 10 days to respond to the request. The
       arbitrator shall make a decision on the request within 20 days after the AAA
       transmits the request and any responses to the arbitrator.
   (c) If applicable law provides a different procedural time frame, that procedure shall
       be followed.




   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 29
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     Post Hearing

     R-48. Release of Documents for Judicial Proceedings

     The AAA shall give a party certified copies of any records in the AAA’s possession
     that may be required in judicial proceedings relating to the arbitration, except for
     records determined by the AAA to be privileged or confidential. The party will
     have to pay a fee for this service.

     R-49. Applications to Court and Exclusion of Liability

     (a) No court or judicial proceeding by a party relating to the subject matter of the
         arbitration shall be deemed a waiver of the party’s right to arbitrate.
     (b) Neither the AAA nor any arbitrator in a proceeding under these Rules is a
         necessary or proper party in judicial proceedings relating to the arbitration.
     (c) Parties to an arbitration under these Rules shall be deemed to have consented
         that judgment upon the arbitration award may be entered in any federal or state
         court having jurisdiction thereof.
     (d) Parties to an arbitration under these Rules shall be deemed to have consented
         that neither the AAA, AAA employees, nor any arbitrator shall be liable to any
         party in any action for damages or injunctive relief for any act or omission in
         connection with any arbitration under these rules.
     (e) Parties to an arbitration under these Rules may not call the arbitrator, the AAA, or
         any AAA employee as a witness in litigation or any other proceeding relating to
         the arbitration. The arbitrator, the AAA, and AAA employees are not competent
         to and may not testify as witnesses in any such proceeding.




30   ARBITRATION RULES                                                         American Arbitration Association
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   General Procedural Rules

   R-50. Waiver of Rules

   If a party knows that any of these Rules have not been followed, it must object in
   writing before proceeding with arbitration or it will lose its right to object that the
   rule has not been followed.

   R-51. Extensions of Time

   The parties may agree to change any period of time provided for in the Rules,
   except that any such modification that negatively affects the efficient resolution
   of the dispute is subject to review and approval by the arbitrator. The AAA or the
   arbitrator may for good cause extend any period of time in these Rules, except
   as set forth in R-42. The AAA will notify the parties of any extension.

   R-52. Serving of Notice and AAA and Arbitrator Communications

   (a) Any papers or notices necessary for the initiation or continuation of an arbitration
       under these Rules, or for the entry of judgment on any award made under these
       Rules, may be served on a party by mail or email addressed to the party or its
       representative at the last-known address or by personal service, in or outside the
       state where the arbitration is to be held, provided that reasonable opportunity to
       be heard with regard to the dispute is or has been granted to the party.
   (b) The AAA, the arbitrator, and the parties also may use overnight delivery, electronic
       facsimile transmission (fax), or electronic mail (email) to give the notices required
       by these rules. Where all parties and the arbitrator agree, notices may be sent by
       other methods of communication.
   (c) Unless directed differently by the AAA or by the arbitrator, any documents and all
       written communications submitted by any party to the AAA or to the arbitrator
       also shall be sent at the same time to all parties to the arbitration.
   (d) A failure to provide the other parties with copies of communications made to the
       AAA or to the arbitrator may prevent the AAA or the arbitrator from acting on any
       requests or objections contained within those communications.
   (e) A party and/or someone acting on behalf of a party cannot have any
       communications with an arbitrator or a potential arbitrator about the arbitration
       outside of the presence of the opposing party. All such communications shall be
       conducted through the AAA.
   (f) The AAA may direct that any oral or written communications that are sent by a
       party or their representative shall be sent in a particular manner. The failure of a
       party or its representative to do so may result in the AAA’s refusal to consider the
       issue raised in the communication.



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     R-53. Interpretation and Application of Rules

     The arbitrator shall interpret and apply these Rules as they relate to the arbitrator’s
     powers and duties. When there is more than one arbitrator and a difference
     arises among them concerning the meaning or application of these Rules, it shall
     be decided by a majority vote. If that is not possible, either an arbitrator or a
     party may refer the question to the AAA for final decision. All other Rules shall
     be interpreted and applied by the AAA.

     R-54. Remedies for Nonpayment

     (a) If arbitrator compensation or administrative charges have not been paid in full,
         the AAA may inform the parties so that one of them may forward the required
         payment.
     (b) Once the AAA informs the parties that payments have not been received, a party
         may request an order from the arbitrator directing what measures might be taken
         in light of a party’s nonpayment.
         Such measures may include limiting a party’s ability to assert or pursue its claim.
         However, a party shall never be precluded from defending a claim or counterclaim.
         The arbitrator must provide the party opposing a request for relief with the
         opportunity to respond prior to making any determination. In the event that the
         arbitrator grants any request for relief that limits any party’s participation in the
         arbitration, the arbitrator will require the party who is making a claim and who has
         made appropriate payments to submit the evidence required to make an award.
     (c) Upon receipt of information from the AAA that full payments have not been
         received, the arbitrator, on the arbitrator’s own initiative, may order the suspension
         of the arbitration. If no arbitrator has yet been appointed, the AAA may suspend
         the proceedings.
     (d) If arbitrator compensation or AAA administrative fees remain unpaid after a
         determination to suspend an arbitration due to nonpayment, the arbitrator
         has the authority to terminate the proceedings. Such an order shall be in writing
         and signed by the arbitrator. The impact of the termination for nonpayment of
         the Consumer Clause Registry fee is the removal from the “Registered” section of
         the Registry.


     R-55. Declining or Ceasing Arbitration

     The AAA in its sole discretion may decline to accept a Demand for Arbitration
     or stop the administration of an ongoing arbitration due to a party’s improper
     conduct, including threatening or harassing behavior towards any AAA staff,
     an arbitrator, or a party or party’s representative.



32   ARBITRATION RULES                                                         American Arbitration Association
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   Costs of Arbitration (including AAA Administrative Fees)*

   Arbitrator compensation is not included as part of the administrative fees
   charged by the AAA. Arbitrator compensation is based on a rate established by
   the AAA as set forth below. If a Preliminary Management Hearing is held by the
   arbitrator, the arbitrator is entitled to one-half the arbitration compensation rate
   for a full hearing day or a documents-only hearing. Once evidentiary hearings are
   held, the arbitrator is entitled to the full-day rate of compensation. The business
   shall pay the arbitrator’s compensation unless the consumer, post dispute,
   voluntarily elects to pay a portion of the arbitrator’s compensation. Arbitrator
   compensation, expenses as defined in sections (v) and (vii) below, and
   administrative fees (which include Filing and Hearing Fees) are not subject to
   reallocation by the arbitrator(s) except as may be required by applicable law or
   upon the arbitrator’s determination that a claim or counterclaim was filed for
   purposes of harassment or is patently frivolous.

   * Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of
     less than 300% of the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of
     arbitrator fees. This law applies to all consumer agreements subject to the California Arbitration Act, and to all
     consumer arbitrations conducted in California. If you believe that you meet these requirements, you must submit
     to the AAA a declaration under oath regarding your monthly income and the number of persons in your
     household. Please contact the AAA at 1-800-778-7879, if you have any questions regarding the waiver of
     administrative fees. (Effective January 1, 2003)



                                                                               In-Person or                In-Person or
          Party                  Desk Arbitration                          Telephonic Hearing –        Telephonic Hearing –
                                                                             Single Arbitrator       Three Or More Arbitrators

                                 Filing Fee—$200                              Filing Fee—$200            Filing Fee—$200
      Consumer
                                 (nonrefundable)                              (nonrefundable)            (nonrefundable)

                                                                             Filing Fee—$1,700           Filing Fee—$2,200
                                Filing Fee—$1,700
                                                                            Hearing Fee—$500            Hearing Fee—$500
      Business                    Arbitrator
                              Compensation—$750                               Arbitrator                    Arbitrator
                                  per case                               Compensation—$1,500         Compensation—$1,500 per
                                                                            per hearing day          hearing day per arbitrator




   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 33
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     (i) Filing Fees

     In cases before a single arbitrator, a nonrefundable filing fee capped in the
     amount of $200 is payable in full by the consumer when a case is filed, unless the
     parties’ agreement provides that the consumer pay less. A partially refundable
     fee in the amount of $1,700 is payable in full by the business, unless the parties’
     agreement provides that the business pay more. This fee is due from the
     business once the consumer has met the filing requirements.

     In cases before three or more arbitrators, a nonrefundable filing fee capped in
     the amount of $200 is payable in full by the consumer when a case is filed, unless
     the parties’ agreement provides that the consumer pay less. A partially
     refundable fee in the amount of $2,200 is payable in full by the business, unless
     the parties’ agreement provides that the business pay more. This fee is due from
     the business once the consumer has met the filing requirements.

     There shall be no filing fee charged for a counterclaim.

     The AAA reserves the right to assess additional administrative fees for services
     performed by the AAA beyond those provided for in these Rules and which may
     be required by the parties’ agreement or stipulation.

     (ii) Neutral Arbitrator’s Compensation

     Arbitrators serving on a case with an in-person or telephonic hearing will receive
     compensation at a rate of $1,500 per day.

     Arbitrators serving on a case with a desk arbitration/documents-only hearing will
     receive compensation at a rate of $750 per case.

     The AAA reserves the right to raise the daily or per-case arbitrator compensation
     rate because of the complexity of the case or for processes and procedures
     beyond those provided for in these Rules and which may be required by the
     parties’ requests, agreement, or stipulation (1) at the time of the AAA’s initiation
     of the case; (2) upon the addition of a new party; (3) when a change of claim is
     made and, if necessary, approved by the arbitrator(s); (4) or if circumstances arise
     during the course of the case due to the complexity of issues and submissions by
     the parties. Any determination by the AAA on compensation rates is in the sole
     discretion of the AAA and such decision is final and binding on the parties and
     arbitrator.


34   ARBITRATION RULES                                                  American Arbitration Association
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   (iii) Refund Schedule

   Once the claimant has met the filing requirements, refunds to the business will
   be calculated as follows:

          •      if the case is settled or withdrawn within 30 calendar days, 50% of the filing
                 fee will be refunded to the business.


   However, no refund of the filing fee will be made once an arbitrator has been
   appointed and no refunds will be made on awarded cases. The date the claimant’s
   filing requirements are met is the date used to calculate any refund of filing fees.
   If the matter is settled or withdrawn prior to receipt of filing fees from the
   business, the AAA will bill the business in accordance with this refund schedule.

   (iv) Hearing Fees

   For telephonic hearings or in-person hearings held, an additional administrative
   fee of $500 is payable by the business.

   There is no AAA hearing fee for the initial Administrative Conference (see R-10).

   (v) Hearing Room Rental

   The hearing fees described above do not cover the rental of hearing rooms. The
   AAA maintains rental hearing rooms in most offices for the convenience of the
   parties. Check with the administrator for availability and rates. Hearing room
   rental fees will be borne by the business.

   (vi) Abeyance Fee

   Parties on cases held as inactive for one year will be assessed an annual
   abeyance fee of $300. If a party refuses to pay the assessed fee, the opposing
   party or parties may pay the entire fee on behalf of all parties, otherwise the
   matter will be administratively closed. All filing requirements, including payment
   of filing fees, must be met before a matter may be placed in abeyance.

   (vii) Expenses

   All expenses of the arbitrator, including required travel and other expenses, and
   any AAA expenses, as well as the costs relating to proof and witnesses produced
   at the direction of the arbitrator, shall be borne by the business.

   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 35
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     (viii) Consumer Clause Review and Registry Fee

     Please note that all fees described below are nonrefundable.

     For businesses submitting a clause, the cost of reviewing the clause and
     maintaining that clause on the Registry is $500. A yearly Registry fee of $500
     will be charged to maintain each clause on the Registry for each calendar year
     thereafter.

     If the AAA receives a demand for consumer arbitration from an arbitration clause
     that was not previously submitted to the AAA for review and placement on the
     Registry, the business will incur an additional $250 fee to conduct an expedited
     review of the clause.

     Any subsequent changes, additions, deletions, or amendments to currently
     registered arbitration agreement must be resubmitted for review and a review
     fee of $500 will assessed at that time.




36   ARBITRATION RULES                                               American Arbitration Association
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   Procedures for the Resolution of Disputes through Document
   Submission

   D-1. Applicability

   (a) In any case, regardless of claim size, the parties may agree to waive in-person/
       telephonic hearings and resolve the dispute through submission of documents
       to one arbitrator. Such agreement should be confirmed in writing no later than
       the deadline for the filing of an answer.
   (b) Where no disclosed claims or counterclaims exceed $25,000, the dispute shall
       be resolved by these Procedures, unless a party asks for a hearing or the arbitrator
       decides that a hearing is necessary.
   (c) If one party makes a request to use the Procedures for the Resolution of Disputes
       through Document Submission (Procedures) and the opposing party is
       unresponsive, the arbitrator shall have the power to determine whether to
       proceed under the Procedures. If both parties seek to use the Procedures after
       the appointment of an arbitrator, the arbitrator must also consent to the process.
   (d) When parties agree to these Procedures, the procedures in Sections D-1 through
       D-4 of these Rules shall supplement other portions of these rules which are not in
       conflict with the Procedures.


   D-2. Preliminary Management Hearing

   Within 14 calendar days of confirmation of the arbitrator’s appointment, the
   arbitrator shall convene a preliminary management hearing, via conference call,
   video conference, or internet, to establish a fair and equitable procedure for the
   submission of documents, and, if the arbitrator deems appropriate, a schedule
   for one or more telephonic or electronic conferences.

   D-3. Removal from the Procedures

   (a) The arbitrator has the discretion to remove the case from the Procedures if the
       arbitrator determines that an in-person or telephonic hearing is necessary.
   (b) If the parties agree to in-person or telephonic hearings after a previous agreement
       to proceed under the Procedures, the arbitrator shall conduct such hearings.
       If a party seeks to have in-person or telephonic hearings after agreeing to the
       Procedures, but there is not agreement among the parties to proceed with
       in-person or telephonic hearings, the arbitrator shall resolve the issue after the
       parties have been given the opportunity to provide their respective positions
       on the issue.




   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 37
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     D-4. Time of Award

     (a) The arbitrator shall establish the date for either final written submissions or a final
         telephonic or electronic conference. Such date shall operate to close the hearing,
         and the time for the rendering of the award shall commence on that day as well.
     (b) The arbitrator shall render the award within 14 calendar days from the date the
         hearing is closed.
     (c) The award is subject to all other provisions of these Rules that pertain to awards.




38   ARBITRATION RULES                                                           American Arbitration Association
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   Glossary of Terms

   Administrator

   The Administrator’s role is to manage the administrative aspects of the arbitration,
   such as the appointment of the arbitrator, to make preliminary decisions about
   where hearings might take place, and to handle the fees associated with the
   arbitration. As Administrator, however, the Administrator does not decide the
   merits of a case or make any rulings on issues such as what documents must be
   shared with each side. Because the Administrator’s role is only administrative,
   the Administrator cannot overrule or change an arbitrator’s decisions or rulings.
   The Administrator will comply with any court orders issued from litigation
   involving the parties to the dispute.

   ADR Agreement

   An ADR Agreement is an agreement between a business and a consumer to
   submit disputes to mediation, arbitration, or other ADR processes.

   ADR Process

   An ADR (Alternative Dispute Resolution) Process is a method of resolving a
   dispute other than by court litigation. Mediation and Arbitration are the most
   widely used ADR processes.

   ADR Program

   An ADR Program is any program or service set up or used by a business to
   resolve disputes out of court.

   Arbitration

   In arbitration, the parties submit disputes to an impartial person (the arbitrator)
   for a decision. Each party can present evidence to the arbitrator. Arbitrators do
   not have to follow the Rules of Evidence used in court.

   Arbitrators decide cases with written decisions or “awards.” An award is usually
   binding on the parties. A court may enforce an arbitration award and the court’s
   review of arbitration awards is limited.




   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 39
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     Arbitration Agreement

     An arbitration agreement is a contract between parties to settle their disputes
     by binding arbitration. It is typically found in the parties’ contract in a section
     entitled “Arbitration” or “Dispute Resolution.” It gives the parties information
     about how they are choosing to settle any disputes that they might have.

     Arbitrator

     Arbitrators are neutral and independent decision makers who are not employees
     of the administrator. Except where the parties to a case reach their own
     settlement, the Arbitrator will make the final, binding decision on the dispute
     and render it in writing, called the Award. The Arbitrator makes all the procedural
     decisions on a case not made by the administrator or not decided jointly by the
     parties. The Arbitrator may grant any remedy, relief, or outcome that the parties
     could have received in court, including awards of attorney’s fees and costs, in
     accordance with the law(s) that applies to the case.

     Once appointed to a case, an Arbitrator may not be removed by one party
     without the other party’s consent or unless the administrator determines an
     Arbitrator should be removed and replaced by another Arbitrator chosen by the
     administrator in a manner described in these Rules.

     Case Administrator

     The Case Administrator is the AAA’s employee assigned to handle the
     administrative aspects of the case. He or she does not decide the case. He or
     she manages the case’s administrative steps, such as exchanging documents,
     matching schedules, and setting up hearings. The Case Administrator is the
     parties’ contact point for almost all aspects of the case outside of any hearings.

     Claimant

     A Claimant is the party who files the claim or starts the arbitration. Either the
     consumer or the business may be the Claimant.

     Demand for Arbitration (also referred to as “Demand”)

     The written document created by the claimant that informs the respondent that
     it wishes to arbitrate a dispute. This document provides basic information about
     the dispute, the parties involved and what the claimant wants as a result of the
     arbitration.
40   ARBITRATION RULES                                                   American Arbitration Association
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   Documents-Only Arbitration

   In a Documents-Only Arbitration, the parties submit their arguments and
   evidence to the arbitrator in writing. The arbitrator then makes an award based
   only on the documents. No in-person or telephone hearing is held.

   Independent ADR Institution

   An Independent ADR Institution is an organization that provides independent
   and impartial administration of ADR programs for consumers and businesses.
   The American Arbitration Association is an Independent ADR Institution.

   In-Person Hearing

   During an In-Person Hearing, the parties and the arbitrator meet in a conference
   room or office and the parties present their evidence in a process that is
   similar to going to court. However, an In-Person Hearing is not as formal as going
   to court.

   Mediation

   In Mediation, an impartial person (the mediator) helps the parties try to settle
   their dispute by reaching an agreement together. A mediator’s role is to help
   the parties come to an agreement. A mediator does not arbitrate or decide
   the outcome.

   Neutral

   A “Neutral” is a mediator, arbitrator, or other independent, impartial person
   selected to serve as the independent third party in an ADR process.

   Party

   The party is the person(s) or business that is involved in the dispute in the
   arbitration process. Usually, these are the people or businesses that have an
   arbitration agreement between them that specifies that a dispute should be
   resolved by arbitration.




   Rules Amended and Effective September 1, 2014. Cost of Arbitration Effective January 1, 2016.   CONSUMER ARBITRATION RULES 41
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     Parties

     Parties are all the separate individuals, businesses, or organizations involved in
     the arbitration.

     Opposing Party

     The opposing party is the other party that is on the opposite side of the
     arbitration from you. If you are the claimant, the Opposing Party is the
     respondent. If you are the respondent, the Opposing Party is the claimant. If you
     are the consumer, the Opposing Party is the business. If you are the business,
     the Opposing Party is the consumer.

     Respondent

     The respondent is the party against whom the claim is filed. If a Respondent
     states a claim in arbitration, it is called a counterclaim. Either the consumer or
     the business may be the Respondent.

     Telephone Hearing

     In a Telephone Hearing, the parties have the opportunity to tell the arbitrator
     about their case during a conference call. They also present their evidence to
     the arbitrator during the call. Often this is done after the parties have sent in
     documents for the arbitrator to review.




42   ARBITRATION RULES                                                   American Arbitration Association
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     Any unauthorized use or modification of these rules may violate copyright laws and other applicable laws.
     Please contact 800.778.7879 or websitemail@adr.org for additional information.
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             EXHIBIT B
           Case
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                                                                                             1101 Laurel Oak Road
                                                                                               Voorhees, NJ 08043




April 18, 2020

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San Francisco, CA 94103
Via Email to: rbarajas@uber.com

Case Number: 01-20-0003-9204

Lucia Greco
-vs-
Uber Technologies, Inc.

Dear Parties:

Claimant has filed with us a demand for arbitration. We note that the arbitration clause provides for arbitration by
the American Arbitration Association (“AAA”).

Prior to the filing of this arbitration, Uber Technologies, Inc. failed to comply with the AAA’s policies regarding
consumer claims. Accordingly, we must decline to administer this claim and any other claims between Uber
Technologies, Inc. and its consumers at this time. These policies can be found on our web site, www.adr.org, in
the Consumer Due Process Protocol (“Protocol”) and the Consumer Arbitration Rules (“Consumer Rules”),
including the Costs of Arbitration.

Accordingly, we have administratively closed our file and will refund any payment received by the filing party.
According to R-1(d) of the Consumer Rules, should the AAA decline to administer an arbitration, either party
may choose to submit its dispute to the appropriate court for resolution.

If you believe we have declined this matter in error, please email ConsumerFiling@adr.org.

Pursuant to the AAA’s current policy, in the normal course of our administration, the AAA may maintain certain
electronic case documents in our electronic records system. Such electronic documents may not constitute a
complete case file. Other than certain types of electronic case documents that the AAA maintains indefinitely,
electronic case documents will be destroyed 3 months after the date of this letter.

If Uber Technologies, Inc. advises the AAA in the future of its intention to comply with the AAA’s Consumer
Arbitration Rules and if applicable, resolves any outstanding payment obligations, the AAA may consider at its
sole discretion, accepting newly filed consumer cases going forward. Therefore, if Uber Technologies, Inc.
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wishes for the AAA to consider accepting consumer disputes going forward, Uber Technologies, Inc. must, at a
minimum, register its clause on the Consumer Clause Registry on our website, www.adr.org/clauseregistry. Upon
completion of the registration process and confirmation from the AAA that Uber Technologies, Inc. is now active
on the Consumer Clause Registry, Uber Technologies, Inc. is responsible for informing all parties that Claimant
may re-file their claim.

Sincerely,

Consumer Filing Team
ConsumerFiling@adr.org
Fax: (877) 304-8457

cc:
Tien Le
Tracey Cowan, Esq.
